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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                         CASE NO. 13-23767 CIV-COOKE/TURNOFF

  YVES M. CADOT,

         Plaintiff,

  v.

  MIAMI-DADE FIRE RESCUE
  LOGISTICS DIVISION,

        Defendant.
  _____________________________________/

                          REPLY MEMORANDUM IN SUPPORT OF
                        MOTION TO QUASH SERVICE OF PROCESS
                            AND TO DISMISS COMPLAINT

         Defendant, Miami-Dade Fire Rescue Department Logistics Division (“MDFR”), pursuant

  to S. D. Fla. 7.1 and Rules 4(j)(2), 12(b)(6) and 17(b)(3) filed a Motion to Quash Service of

  Process and to Dismiss the Complaint on December 30, 2013. [DE 9].

         In what appears to be a response to the Motion, on January 3, 2014, Plaintiff filed a

  memorandum with the Court attaching copies of a summons and return of service and other

  documents [DE 11]. Defendant will treat this filing in DE 11 as Plaintiff’s Response to the

  Motion. Therefore, to the extent Plaintiff’s filing in DE 11 purports to respond to the Motion in

  DE 9, Defendant MDFR files this reply memorandum.

         Plaintiff’s Response is not a memorandum of law and does not respond to the Motion on

  the merits. The Motion sought dismissal of the Complaint because it sued MDFR, which is not

  sui juris. Plaintiff’s Response does not address this flaw in the Complaint and cites no contrary

  authority. On that basis alone, the Complaint should be dismissed. Plaintiff’s Response also




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  fails to address the shotgun complaint problems in the Complaint or the unauthorized claim for

  punitive damages. See authorities cited in DE 9, pp. 1-2.

           Plaintiff’s Response appears calculated to respond merely to the Motion to Quash portion

  of MDFR’s Motion in DE 9.        In the Motion, MDFR argued that service of process on MDFR

  was inadequate and it cited this Court’s decision in Cornwall v. Miami-Dade County, No. 10-

  23561-CIV, 2011 WL 3878352 (S.D. Fla. August 31, 2011).

           The Cornwall decision provided that “[o]nce the sufficiency of service is brought into

  question, the plaintiff has the burden [to prove] proper service of process.” Id. at WL 3878352,

  at *2.    MDFR’s Motion in DE 9 brought into question the sufficiency of service of process.

  Plaintiff’s Response fails to meet that burden of proving proper service of process. Plaintiff’s

  Response merely attaches a summons that states that that defendant is

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                         Eric A. Rodriguez, Assistant County Attorney
                         Miami-Dade County, Florida
                         Stephen P. Clark Center, Suite 2810
                         111 NW 1st Street
                         Miami, Florida 33128

  [DE 11, p. 3].    Plaintiff’s Response then attaches a return of service indicating in handwriting

  that Miami-Dade Fire Rescue was served by serving Isabel Machin Board of Commissioners.

  [DE 11, p. 5].     This purported proof of service is flawed for several reasons. The return of

  service does not match the Summons. The Summons indicated the undersigned as the purported

  party to whom service would be effectuated and instead of demonstrating service consistent with

  the Summons, the return of service stated that service was made on Isabel Machin for the Board

  of Commissioners. Even if the Summons had matched the return of service, service on Isabel

  Machin is ineffective because it did not comply with Florida Statutes §48.111 which the Court




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  in Cornwall held is the law applicable to service on Miami-Dade County.              Florida Statutes

  §48.111 states in pertinent part as follows:

                 48.111. Service on public agencies and officers

                 (1) Process against any municipal corporation, agency, board, or
                 commission, department, or subdivision of the state or any county
                 which has a governing board, council, or commission or which is a
                 body corporate shall be served:

                 (a) On the president, mayor, chair, or other head thereof; and in his
                 or her absence;

                 (b) On the vice president, vice mayor, or vice chair, or in the
                 absence of all of the above;

                 (c) On any member of the governing board, council, or
                 commission.

  Therefore, service on someone other than the Mayor or the Chair of the Board of

  County Commissioners is ineffective service under Florida Statutes §48.111.

  Plaintiff has not demonstrated that the Mayor or the Chair of the County

  Commission were unable to be served in their either of their respective offices as

  a result of an absence. Therefore, because neither the Summons was proper nor

  the service of the Summons was effectuated on the authoritative person under

  48.111, Florida Statutes, which is the Mayor or the Chair of the Board of County

  Commissioners, the service of process set forth in the Plaintiff’s Response is

  ineffective and must be quashed. See Cornwall.

          WHEREFORE, Defendant MDFR respectfully requests that service of process be

  quashed and that the Complaint against it be dismissed.




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                                      Respectfully submitted,

                                      R. A. CUEVAS, JR.
                                      Miami-Dade County Attorney
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                                      Miami, Florida 33128


                                      By: s/ Eric A. Rodriguez
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 6, 2014, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

                                                                  s/ Eric A. Rodriguez
                                                                  Eric A. Rodriguez



                                       SERVICE LIST
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